         Case 1:13-cv-00508-FMA Document 15 Filed 07/26/13 Page 1 of 1




      In The United States Court of Federal Claims
                                         No. 13-508C

                                     (Filed: July 26, 2013)
                                          __________
 LYON SHIPYARD, INC.,
 a Virginia Corporation

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                          __________

                                           ORDER
                                          __________

       A telephonic status conference will be held in this case on Monday, July 29, 2013, at 2:00
p.m. (EDT). Chambers will contact the parties shortly before the scheduled conference time.

       IT IS SO ORDERED.


                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
